                                                                                FILED
                                                                               JUL O7 2023
                                                                           PETER A. MOORE JR CLERK
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                      UNITED STATES DISTRICT COUR'I'
             FOR 'I'HE EASTERN DISTRICT OF NORTH CAROLINA ----j-~=-- DEP CLK
                            EASTERN DIVISTON




                                     )
                                     )      ORDER 'l'O SEAL APPLICA'l'ION AND
 IN THE MA'l'T.E R OF            THE )         AFFIDAVIT FOR CRIMINAL
 CRIMINAL COMPLAINT              FOR )                  COMPLAIN'l'
 ISAIAH EMMANUELLE GIBBS                )



      Upon motion of the United States, for good cause shown and fo:r the reasons

stated in the motion, it is hereby ORDERED that the Application for Criminal

Complaint and Probable Cause Affidavit in support of the Criminal Complaint in the

above-referenced matte1., the instant Motion to Seal, and this Order to Seal, be sealed

by the Clerk from this date until unsealed by this Court's Order, except that a filed

copy of the same be provided to the United States Attorney's Office and the Bureau

of Alcohol, Tobacco, Firearms and Explosives.

      This the   l      day of July 2023.




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